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                         UNITED STATES DISTRICT COURT
                         EASTERN DISTRICT OF MICHIGAN


J & J SPORTS PRODUCTIONS, INC.,
                Plaintiff,

v.

PRIME HOOKAH LOUNGE, INC,, "Ice
Hookah Lounge"; "Krave Hookah Bar",
AND BRIAN TOMA AND STAVROS
TOMA, Individually, jointly and severally,
                  Defendants.
                                                               A civil action


                            COMPLAINT FOR DAMAGES


       COMES NOW the Plaintiff, J & J Sports Productions, Inc., (“Plaintiff”), by and

through its attorneys, HUBBELL DUVALL PLLC, and states as follows:

                                       Jurisdiction

1.     Jurisdiction is founded on the existence of a question arising under federal law.

       This action is brought pursuant to several federal statutes, including the

       Communications Act of 1934, as amended, 47 U.S.C. § 605, et seq., and The

       Cable & Television Consumer Protection and Competition Act of 1992, as

       amended, 47 U.S.C. § 553, et seq.

2.     This Court has jurisdiction over the subject matter of this action pursuant to 28

       U.S.C. § 1331, which states: “The district courts shall have original jurisdiction of

       all civil actions arising under the Constitution, laws, or treaties of the United

       States.”


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3.     This Court has supplemental jurisdiction over the state law claims made herein

       pursuant to 28 U.S.C. § 1367(a).

4.     This Court has personal jurisdiction over the parties in this action as a result of the

       Defendants’ wrongful acts that violated the Plaintiff's rights as the exclusive

       commercial domestic distributor of the televised fight program set forth below.

       Defendants’ wrongful acts consisted of the interception and tortious conversion of

       property of Plaintiff within the Plaintiff’s control in the State of Michigan.

                                            Venue

5.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(1) because a

       defendant resides in this judicial district and all defendants reside in the State of

       Michigan.

6.     Venue is proper in this Court pursuant to 28 U.S.C. § 1391(b)(2) because a

       substantial part of the events or omissions giving rise to the claim occurred in this

       judicial district.

                                           Parties

7.     Plaintiff, J & J Sports Productions, Inc. is, and at all relevant times was, a CA

       corporation with its principal place of business located at 2380 S. Bascom Avenue

       Ste. 200 Campbell, CA 95008.

8.     Plaintiff is informed and believes, and alleges thereon that Defendant, Prime

       Hookah Lounge, Inc, is a Michigan Corporation, doing business at all relevant

       times mentioned under the names of "Ice Hookah Lounge" and "Krave Hookah




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        Bar", having its principal place of business at 45271 Market St Shelby Twp., MI

        48315-6223.

9.      Plaintiff is informed, believes, and alleges that Defendant, Prime Hookah Lounge,

        Inc, and Brian Toma and Stavros Toma are the principles, subsidiaries, alter egos,

        officers, directors, shareholders, employees, agents, and/or other representatives of

        "Ice Hookah Lounge"; "Krave Hookah Bar", business entit(ies) of an unknown

        nature.

10.     Plaintiff is informed, believes, and alleges thereon that at all times on May 3,

        2014, Defendant(s) Brian Toma and Stavros Toma was/were the owner(s), and/or

        officer(s),   shareholder(s),   and/or   operator(s),   and/or   licensee(s),   and/or

        permitee(s), and/or person(s) in charge, and/or an individual(s) with dominion,

        control, oversight and management of the commercial establishment Prime

        Hookah Lounge, Inc, "Ice Hookah Lounge"; "Krave Hookah Bar", operating at

        45271 Market St Shelby Twp., MI 48315-6223, and was either aware of the

        unauthorized display of the program, fully described below, and tacitly or

        explicitly approved same or was physically present at the time the program was

        displayed, and in either event had actual or constructive knowledge of the display

        of the program in the commercial establishment on May 3, 2014.

                            Count I – Violation of 47 U.S.C. § 605

11.     Plaintiff J & J Sports Productions, Inc. hereby incorporates by reference all of the

        allegations contained in each preceding paragraph, inclusive, as though set forth at

        length.


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12.     Pursuant to contract, Plaintiff J & J Sports Productions, Inc., paid for and was

        thereafter granted the exclusive nationwide television distribution (closed-circuit)

        rights to the Floyd Mayweather, Jr. v. Marcos Rene Maidana WBC Welterweight

        Championship Fight Program on May 3, 2014, (this included all under-card bouts

        and fight commentary encompassed in the television broadcast of the event,

        hereinafter referred to as the "Program").

13.     Pursuant to contract, Plaintiff J & J Sports Productions, Inc., entered into

        subsequent sublicensing agreements with various commercial entities throughout

        North America, including entities within the State of Michigan, by which it

        granted these entities limited sublicensing rights specifically the rights to publicly

        exhibit the Program to the patrons within their respective establishments (i.e.,

        hotels, racetracks, casinos, bars, taverns, restaurants, social clubs, etc.) on a pay-

        per-view basis.

14.     As a commercial distributor and licensor of sporting events, including the

        Program, Plaintiff J & J Sports Productions, Inc., expended substantial monies

        marketing, advertising, promoting, administering, and transmitting the Program to

        its customers, the aforementioned commercial entities, and each defendant failed

        to pay the fee to exhibit the program in their commercial establishment.

15.     With full knowledge that the Program was not to be intercepted, received,

        published, divulged, displayed, and/or exhibited by commercial entities

        unauthorized to do so, each and every of the above named Defendants and/or their

        agents while in the course of their employment or while otherwise acting under the


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        authority of the Defendants, servants, workmen or employees did unlawfully

        intercept, receive, publish, divulge, display, and/or exhibit the Program at the time

        of its transmission at their commercial establishment at 45271 Market St Shelby

        Twp., MI 48315-6223.

16.     Said unauthorized interception, reception, publication, exhibition, divulgence,

        display, and/or exhibition by each of the Defendants was done willfully and for

        purposes of direct and/or indirect commercial advantage and/or private financial

        gain.

17.     47 U.S.C. § 605, et seq., prohibits the unauthorized publication or use of

        communications (such as the transmission of the Program for which Plaintiff J & J

        Sports Productions, Inc., had the distribution rights thereto).

18.     By reason of the aforesaid mentioned conduct, each Defendant violated 47 U.S.C.

        § 605, et seq.

19.     By reason of the Defendants’ violation of 47 U.S.C. § 605, et seq., Plaintiff J & J

        Sports Productions, Inc., has the private right of action pursuant to 47 U.S.C. §

        605(e)(3)(A).

20.     As the result of the aforementioned Defendants’ violation of 47 U.S.C. § 605, and

        pursuant to Section 605, Plaintiff J & J Sports Productions, Inc., is entitled to

        recover the following from each Defendant:

        (a)     Statutory damages for each violation in an amount to $10,000 pursuant

                to 47 U.S.C. § 605(e)(3)(C)(i)(II); and also




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        (b)    Statutory damages for each willful violation in an amount to

               $100,000.00 pursuant to 47 U.S.C. § 605(e)(3)(C)(ii), and also

        (c)    the recovery of full costs, including reasonable attorneys’ fees, pursuant

               to 47 U.S.C. § 605(e)(3)(B)(iii).

                            Count II – Violation of 47 U.S.C. § 553

21.     Plaintiff J & J Sports Productions, Inc., hereby incorporates by reference all of the

        allegations contained in each preceding paragraph, inclusive, as though set forth

        herein at length.

22.     The unauthorized interceptions, reception, publication, divulgence, display, and/or

        exhibition of the Program by the above named Defendants was prohibited by 47

        U.S.C. § 553, et seq.

23.     By reason of the aforementioned conduct, each defendant violated 47 U.S.C. §

        553, et seq.

24.     By reason of the Defendants’ violation of 47 U.S.C. § 553, et seq., Plaintiff J & J

        Sports Productions, Inc., has the private right of action pursuant to 47 U.S.C. §

        553(c)(1).

25.     As the result of the aforementioned Defendants’ violation of 47 U.S.C. § 553,

        Plaintiff J & J Sports Productions, Inc., is entitled to the following from each

        Defendant:

        (a)    Statutory damages for each violation in amount to $10,000 pursuant to

               Title 47 U.S.C. Section 553(c)(3)(A)(ii); and also




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        (b)    Statutory damages for each willful violation in an amount to $50,000

               pursuant to 47 U.S.C. § 553(c)(3)(B); and also

        (c)    The recovery of full costs pursuant to 47 U.S.C. § 553(c)(2)(C); and

               also

        (d)    In the Court’s discretion, reasonable attorneys’ fees, pursuant to 47

               U.S.C. § 553(c)(2)(C).

                            Count III – Common Law Conversion

26.     Plaintiff J & J Sports Productions, Inc. hereby incorporates by reference all of the

        allegations contained in each preceding paragraph, inclusive, as though set forth

        herein at length.

27.     By the aforesaid acts of interception, reception, publication, divulgence, display,

        and/or exhibition of the Program at their commercial establishment at the above-

        mentioned address, each Defendant tortiously obtained possession of the Program

        and wrongfully exercised dominion over display of the program, converting same

        for their own use and pecuniary benefit without paying the applicable fee to do so.

28.     The aforesaid acts of the Defendants were willful, malicious, egregious, and

        intentionally designed to harm Plaintiff J & J Sports Productions, Inc., by

        depriving Plaintiff of the commercial license fee to which Plaintiff was rightfully

        entitled to receive from them, and in doing so, the Defendants subjected the

        Plaintiff to economic distress and financial loss.




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29.     Accordingly, Plaintiff J & J Sports Productions, Inc. is entitled to recover damages

        from the Defendants, cumulatively trebled, and exclusive of Plaintiff’s other

        remedies at law.

                                      Request for Relief

                                            Count I

1.      For statutory damages in the amount of $110,000.00 against the Defendants, and

        each of them; and

2.      For reasonable attorneys’ fees as mandated by statute, and;

3.      For all costs of suit, including but not limited to filing fees, service of process fees,

        investigative costs, and;

4.      For such other and further relief as this Honorable Court may deem just and

        proper.

                                            Count II

1.      For statutory damages in the amount of $60,000.00 against the Defendants, and

        each of them, and;

2.      For reasonable attorneys’ fees as may be awarded in the Court’s discretion

        pursuant to statute, and;

3.      For all costs of suit, including but not limited to filing fees, service of process fees,

        investigative costs, and

4.      For such other and further relief as this Honorable Court may deem just and

        proper.

                                           Count III


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1.     For compensatory damages in an amount according to proof against the

       Defendants, and each of them, and;

2.     For exemplary damages against the Defendants, and each of them, and;

3.     For punitive damages against the Defendants, and each of them, and;

4.     Treble damages;

5.     For reasonable attorneys’ fees as may be awarded in the Court’s discretion

       pursuant to statute, and;

6.     For all costs of suit, including but not limited to filing fees, service of process fee,

       investigative costs, and;

7.     For such other and further relief as this Honorable Court may deem just and

       proper, or justified by the facts and circumstances of this case.


                                                  RESPECTFULLY SUBMITTED


Dated: April 25, 2017                             /s/ Clinton Hubbell
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